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     SO. CAL. EQUAL ACCESS GROUP
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     JOHN LEE
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     JOHN LEE,                                         Case No.: 8:23-cv-02266-DFM
11
12                Plaintiff,                           NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
13         vs.                                         WITH PREJUDICE
14
     EMPIRE LOCKSMITH LLC D/B/A
15   WILLY'S LOCKSMITH; SHEI-SUN LEE;
16   and DOES 1 to 10,
                  Defendants.
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19
           PLEASE TAKE NOTICE that Plaintiff JOHN LEE (“Plaintiff”) pursuant to
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     Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
21
     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
22
     provides in relevant part:
23
           (a) Voluntary Dismissal.
24
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                         and any applicable federal statute, the plaintiff may dismiss an action
26
                         without a court order by filing:
27
28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: January 19, 2024               SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
